






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-06-536 CV


____________________



ROY E. ADDICKS, JR., Appellant



V.



DOUGLAS DRETKE, ET AL, Appellees






On Appeal from the 136th District Court


Jefferson County, Texas


Trial Cause No. D-177,289






MEMORANDUM OPINION


	On December 14, 2006, the Court notified the parties that the appeal appeared to be
interlocutory because the order did not dispose of all of the claims in controversy.  The
appellant filed a response but did not identify any grounds for exercise of appellate
jurisdiction in this case.  

	The Court finds no final judgment has issued.  Subject to certain statutory exceptions
not applicable in this case, only final judgments are appealable.  Tex. Civ. Prac. &amp; Rem.
Code Ann. §§ 51.012, 51.014 (Vernon 1997 &amp; Supp. 2006).  Accordingly, we hold the
jurisdiction over this case is still vested in the trial court.  The appeal is dismissed for want
of jurisdiction.

	APPEAL DISMISSED.


                                                                            __________________________________

                                                                                              CHARLES KREGER

                                                                                                           Justice


Opinion Delivered February 1, 2007

Before Gaultney, Kreger and Horton, JJ.


